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                                   ORDERED.


     Dated: August 26, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 IN RE:                                                  CASE NO.: 8:19-bk-04001-MGW
                                                                           CHAPTER 7
 Michael David Stevens,
         Debtor,
 Jaime Melissa Stevens,
         Joint Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration for a hearing on August 22, 2019 at 9:30 AM on
PHH Mortgage Corporations’ (“Secured Creditor”) Motion for Relief from Stay (Docket No. 7)
and the Trustee's Response (Docket No. 11). For the reasons stated orally on the record,
Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED

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       effective 90 days from entry of this Order.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated, effective 90 days from
       entry of this Order, as to the Secured Creditor’s interest in the following property located
       at 2820 Bolla Drive, Fayetteville, NC 28306, in Cumberland County, North Carolina,
       legally described as follows:
       BEING ALL OF LOT NO. 166, IN A SUBDIVISION KNOWN AS BIRCH CREEK,
       SECTION THREE, ACCORDING TO A PLAT OF SAME DULY RECORDED IN
       BOOK OF PLATS 96, PAGE 587, CUMBERLAND COUNTY, NORTH CAROLINA
       REGISTRY

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is denied as moot due to the fact the relief effective date is 90 days from
       entry of this order.
   6. Attorneys’ fees in the amount of $350.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.
                                               ###
Attorney, Christopher P. Salamone, Esquire, is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.




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